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                                                          L'.::-. . ■
                IN THE UNITED STATES DISTRICT COURT            S

                FOR THE SOUTHERN DISTRICT OF GEORGIA'""'

                            SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,


               Plaintiff,

                                             4:16-353-06


SAMORY WILLIAMS,


               Defendant




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this /(7^ day of July, 2017.




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
